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AO 91 (Rev. 11/11) Criminal Complaint ° hee pote

UNITED STATES DISTRICT COURT |
for the

Western District of Oklahoma F i = YD

Case No.MS-D\-WUS-PING FEB 05 2021

CARMELITA REEDER SHINN, CLERK

U.S. DIST. wm WESTERN DIST. OKLA.
BY. ,DEPUTY

 

United States of America
V.

MICHAEL BRANDON HOUCK,
a/k/a BRAD HOUCK,

-

Ne ee ee ee

 

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of __ December 6, 2020 to January 7, 2021, _ in the county of Cleveland in the

Western District of _ Oklahoma , the defendant(s) violated:

 

Code Section , Offense Description

18 U.S.C. § 875(c) Transmitting a communication in interstate commerce containing a threat to
injure another.

This criminal complaint is based on these facts:

See attached Affidavit of Special Agent Dustin Merritt, of the Federal Bureau of Investigation which is incorporated and
made a part hereof by reference.

Continued on the attached sheet. SG

Cofiplainant S signature

DUSTIN MERRITT, Special Agent, Federal Bureau of Investigation
Printed name and title

 

Sworn to before me and signed in my presence.

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Judge's igyla ature

City and state: Oklahoma City, Oklahoma AMANDA MAXFIELD GREEN, U.S. Magistrate Judge

Printed name and title

 
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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAHOMA

AFFIDAVIT IN SUPPORT OF
COMPLAINT AND ARREST WARRANT

I, Dustin Merritt, Special Agent with the Federal Bureau of Investigation, being

duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. I am a Special Agent (SA) with the Federal Bureau of Investigation (FBI),
where I investigate violations of federal criminal law. I have been a Special Agent with
the FBI since 2018. I am currently assigned to the Joint Terrorism Task Force of the
Oklahoma City FBI office. During my career, I have conducted investigations involving
violations of federal criminal law relating to, but not limited to, counterterrorism, national
security, possession and use of weapons of mass destruction, and firearms-related offenses.

2. I have personally participated in the investigation set forth below. The facts
in this Affidavit come from my personal observations, my review of documents related to
this investigation, oral and written communications with others who have personal
knowledge of the events and circumstances described herein, a review of public source
information including information available on the Internet, my training and experience,
and information obtained from other agents and witnesses. This Affidavit is intended to
show there is sufficient probable cause for the requested complaint and arrest warrant, but

does not set forth all of my knowledge about this matter.
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3. Based on my training and experience and the facts set forth in this Affidavit,
I believe there is probable cause to believe that Michael Brandon HOUCK (HOUCK)
has transmitted in interstate commerce a communication containing a threat to injure
another in violation of Title 18 U.S.C. § 875(c).

In support thereof, your Affiant states the following:

INVESTIGATION TO DATE

4, On January 8, 2021, FBI Oklahoma City Joint Terrorism Task Force (JTTF)
received information from Detective Tony Towery (Det. Towery) with the Moore Police
Department (MPD) in reference to a complaint received by MPD about concerning remarks
by user @Bradhouck! on a social media platform known as Parler.? Det Towery provided
two screenshots of concerning posts on Parler, as well as a screenshot of a Facebook profile
facebook.com/bhouck2600 and UID 100000367044363. The concerning statements on

Parler included two posts from January 7, 2021:

 

' Based on the totality of the facts known to investigators, it is believed that Michael
Brandon HOUCK utilizes and is commonly known by the name “Brad.”

? In 2018, Parler, LLC launched the privacy-focused, microblogging and social networking
platform “Parler.”? Parler can be accessed via the web at “https://www.parler.com” or can
be downloaded as an application on a mobile device via Google’s Play Store or Apple’s
App Store. In order to make comments and post content on Parler’s network, a new user—
or “Parleyer’—must create a Parler account. The account creation process involves the
new user providing Parler with an email address and phone number, as well as a password.
After creating the account, the user may update his or her account information with a profile
photo and may choose other Parler accounts, such as news networks or individuals, to
follow.
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Brad Houck @Bradhotick
3hrsago « O6:

et)
you had better be ready patriots! It is go
time very soon. We must attack all
central communications to big cities are
democratic cities. Fiber optics telecom
bridges supply routes we can starve
those motherfuckers to death. The
people are ready it is time

(0

Brad Houck

S hrs ado «
>) 15 hrs ago

We got to give it until Monday but after
that patriots we must take the fight to
them, make that rally look small. Load
your magazines gather your things it's
time to go and take out the sorry
bastard’s

 

Brad Houck

@ Lives in Moore, Oklahoma
© From Pauls Valley, Oklahoma

* See Brad's About Info
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5. FBI Oklahoma City contacted with Oklahoma Highway Patrol (OHP) to
identify Brad Houck through driver’s license records maintained by the State of Oklahoma.
FBI was provided with the following identifying formation, which matched name and
photograph to Michael Brandon HOUCK, date of birth XX/XX/1970, Oklahoma driver’s
license number XXXXXXXXX, address XXXXX XXKXKXX XXXXX XX, Norman,
Oklahoma 73071. HOUCK was described as a white male, 5’8” tall, weighing 200 pounds.
OHP also located the Parler comments from HOUCK that were previously sent to MPD.
A screenshot from OHP identified a Facebook posting by Jesica Houck on August 22,
2020, stating “Brads back at it!!” The telephone number listed on the van in the post is

405-XXX-XXXX.?

 

3 HOUCK’s date of birth, driver’s license number, address, and telephone number are
known to FBI, but have been redacted to protect his personal information.

4
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eS ue

4 | Jetica Houck
p3 Pol

Grads Deck at i

NO 2 hice mater

NO we charge for meghts of wenkencs

Gove us 8 By"

 

a Jevica Houck updated her profile picture

ft PPPs C

.

 

OHP also located the below Parler post from January 6, 2021:

@Bradhouck

Save our country, ¢

be taken out by

Start with t ue th what is
most important to them...

 
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6, On January 8, 2021, FBI Oklahoma City queried the Oklahoma City Police
Department for any information related to HOUCK, and was provided additional Parler
screenshots from @Bradhouck that were made on December 21st and December 22nd,

2020, and January 3rd and 4th, 2021:

Brad Houck @Bradhouck vv
4 days ago -Q424

 

It's time for us to organize groups of 10,000 to
hit big pharma! All over the country at the
same time! 10,000 each and clear the
buildings... execute executives on the spot!
they have been committing attempted
murder for years! we have the right to hunt
them down and kill them like animals they
are!! can’t wait! we all have scores to settle!
let's go!

(1 Q3 O>4 of

  
 

[3 =
=

Se
hey mitch, how are your grandkids doing?

(Bo G1 QS OS

Brad Houck @Bradhouck Vv
5 days ago » @194

 

Brad Houck @Bradhouck Vv
5 days ago -©@195

 

Hey justice Roberts, we are coming for you
and your illegal adopted kids!! finished! they
will get to watch you hang

(Ao G1 62 OG
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Brad Houck @Bradhouck Vv
12/22/20 - ©148

 

To all of you slimy politicians Republicans and
Democrats, you are not going to make it. The
people are coming for you and will remove
your sorry asses! You have greatly
underestimated trumps army and we are
going to take out every last one of you

(Do &0 1 OG

Brad Houck @Bradhouck
12/22/20 - @155

WE MUST STORM THAT CAPITAL AND
REMOVE THESE PEOPLE BY FORCE!

(Bo G0 gp OG

 

Brad Houck @Bradhouck a
12/21/20 -©149

 

what in the world is bar doing on television
talking about charging somebody from 1988?
Are you fucking kidding me? What a
worthless piece of shit hey bar you're on the
fucking list too!! pray

(21 G0 Gp2 %

Show Conversation

7. On January 8, 2021, and January 9, 2021, FBI Oklahoma City conducted

screen captures of posts made by @Bradhouck on his publicly available Parler account:
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Brad Houck @Bradhouck ii
12/24/20 » © B54.

 

Supreme Court justices are appointed for
life... You give us only one way to remove
treasonous judges.... death!

It's coming John Roberts! And at least 3
others

Mo 615 6S 28 OG

Brad Houck @Bradhouck Vv
8 days ago -©@198

ANYONE KNOW GUN LAWS ON DC? Virginia?
going to need to know them for THE TRIP!
COME ARMED to the max. The house may
need to be taken that day!! Be ready!

(21 Go a4 OG

Hide Conversation

 

8. On January 9, 2020, a voluntary disclosure of customer communications or
records issued to Parler, LLC identified the account @Bradhouck, user ID 2329569, UUID
16c28d125ca94a44a86682038095 1475, was created on June 30, 2020, using email address
mbhouckcattle@gmail.com, signup IP address of 136.228.101.92, and phone number 405-
XXX-XXXX.* An open source query of the phone number 405-XXX-XXXX identified

this telephone number as a mobile device managed by AT&T Wireless under the name

 

* This is the same telephone number referenced in paragraph 5.
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Michael Brandon Houck, XXXXX KXXXXXX XXXX XX, Norman, Oklahoma 73071.
The phone number was also listed above in Jesica Houck’s Facebook post referencing
“Brad” and the company Houck Plumbing and Gas. An open source search for Houck
Plumbing and Gas identified facebook.com/Houckplumbingok and @Houckplumbingok.

9. HOUCK’s threats mention United States Supreme Court Chief Justice John
Roberts’ “adopted” children. Your affiant has learned that there is public information
about Chief Justice Roberts and his wife having adopted two children.°

10. On January 10, 2021, a United States Magistrate Judge for the Western
District of Oklahoma, signed a search warrant for HOUCK’s residence. On January 11,
2021, at approximately 6:00 am, law enforcement arrived at HOUCK’s residence to
execute the search warrant. Upon arrival, agents announced themselves from a short
distance over a public announcement (PA) speaker as FBJ and announced that they had a
search warrant for HOUCK’s residence. Agents called for HOUCK by name to exit the
residence. Several minutes elapsed with no response from inside the house. Agents then
approached the residence while continuing to announce over the PA their identity and that
they had a search warrant. Even after approaching the house, law enforcement received no
response from inside the house. Only after breaching the house via a window did agents
make verbal contact with HOUCK. Agents continued to announce their identity and the
purpose of their presence. However, HOUCK retreated further into the house. HOUCK

eventually exited the front door smoking a cigarette. Although agents were giving verbal

 

> For example, see, https://en.wikipedia.org/wiki/John Roberts, last visited January 10,
2021.
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commands for HOUCK keep his hands raised, HOUCK repeatedly lowered his hands.
Despite agents ordering him to approach them with his hands up, HOUCK told agents to
come to him. Agents again told HOUCK to come to them with his hands up. Eventually,
HOUCK approached agents and asked them if this was about “the posts.”

11. During the search of HOUCK’s residence, agents found approximately
twenty-four firearms, thousands of rounds of ammunition of various calibers, $4800 in
cash, and several personal electronic devices.

12. On January 11, 2021, agents interviewed HOUCK’s wife. Agents showed
her the above posts. She denied having seen them previously, but she stated the posts
crossed the line of what she believed was acceptable. Additionally, HOUCK’s wife stated
that HOUCK had not traveled to Washington, D.C. on or about January 6, 2021.

13. On January 11, 2021, two identified individuals (Individual #1 and
Individual #2) told agents they were with HOUCK at his house on Saturday night, January
9, 2021, playing dominoes. They told agents that HOUCK bragged about being banned
from both Parler and Facebook for his posts. Individual #2 warned HOUCK about his
posts not being within his nghts. Both Individual #1 and Individual #2 thought the posts
were threatening.

14. On January 10, 2021, a United States Magistrate Judge for the Western
District of Oklahoma, signed a search warrant for HOUCK’s Parler account @Bradhouck,
user ID 2329569, UUVID 16c28d125ca94a44a866820380951475. The search warrant was

sent to Parler on January 10, 2021, and the results were received on January 25, 2021. The

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following posts/comments were discovered during the search of HOUCK’s Parler account
@Bradhouck, user ID 2329569, UUID 16c28d125ca94a44a86682038095 1475:

e “James Lankford from Oklahoma is a sorry motherfucker and will pay for
his treasonous lack of action. Better keep your family close James”
(01/07/2021)

e “They’ve only got two choices we can shoot them or the government can
hang them. Oh wait there’s a third choice, you can send them to my house
and I will Waterboard them for the next five years, then kill them”
(12/06/2020)

e “Damn straightWe just need to get the address of that cocksucker George W.
Bush. That ranch will be easy to get to and take over. We need to get moving
and get the stuff started” (12/25/2020)

e “GWB isa dead man ...we will find you georgie boy” (12/06/2020)®

e “Fuck you Schumer we are going to come find you and have a little fun with
you but make no mistake about it you’re the devil and we are going to kill
you” (01/04/2021)’

e “Fucking DO SOMTHING! We the people are fixin to EXPLODE! When

 

® Based on the totality of the circumstances known to investigators, I believe that “GWB”
is former President George Walker Bush. It is public knowledge that President Bush has
a ranch in McLennan County, Texas. For example, see,

https://en. wikipedia.org/wiki/Prairie_Chapel_Ranch, last visited February 4, 2021.

7 Based on the totality of the circumstances known to investigators, I believe that
“Schumer” refers to United States Senator Chuck Schumer.

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we do , it will not stop , no talking, no discussions, we will keep it up until
every last player in this is dead! We are going to kill all of you sorry ass
politicians! All 535.” (01/04/2021)

e “shoot his ass!!! someone going to catch him or his children or his wife out
of the house! guess what Brad..... we are starting with what’s deafest to
you!!!” (01/04/2021)

e “Time to go after their families! We have to get dirty and I mean now! Start
with the kids then the wives eliminate their families and they will give up
and talk” (01/04/2021)

e “We need to stop talking and start shooting. Come on people just won’t get
resolved with peaceful protest in.” (01/06/2021)

e “Lindsey Graham is a piece of shit he needs to hang with all the rest of them”
(12/07/2020)

e “Stfu Lindsey! We are going to find you and kill your ass! You are full of
chinese money!” (01/03/2021)®

e “He’s a gay little Trader and we’re going to find you Lindsay pull your
eyeballs out and let you run around for the rest of your life like that”

(01/04/2021)

 

8 Based on the totality of the circumstances known to investigators, I believe that
“Lindsey” refers to United States Senator Lindsey Graham.

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CONCLUSION

15. | Based on the aforementioned information, I believe there is probable cause

to believe that Michael Brandon HOUCK communicated a threat to injure another

transmitted in interstate commerce in violation of 18 U.S.C. § 875(c). Specifically,

HOUCK transmitted the following threats:

a.

On December 6, 2020, HOUCK threatened President George W. Bush

by transmitting: “GWB is a dead man ...we will find you georgie boy;”

. On December 24, 2020, HOUCK threatened United States Supreme

Court Chief Justice John Roberts by transmitting: “Supreme Court
Justices are appointed for life.... You give us only one way to remove
treasonous judges.... death! It’s coming John Roberts! And at least 3
others;”

On January 3, 2021, HOUCK threatened United States Supreme Court
Chief Justice John Roberts by transmitting: “Hey justice Roberts, we
are coming for you and your illegal adopted kids!! finished! they will get
to watch you hang;”

On January 3, 2021, HOUCK threatened United States Senator Lindsey
Graham by transmitting: “Stfu Lindsey! We are going to find you and
kill your ass! You are full of chinese money!”

On January 4, 2021, HOUCK threatened United States Senator Chuck

Schumer by transmitting: “Fuck you Schumer we are going to come find

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you and have a little fun with you but make no mistake about it you’re
the devil and we are going to kill you;” and
f. On January 7, 2021, HOUCK threatened United States Senator James
Lankford by transmitting: “James Lankford from Oklahoma is a sorry
motherfucker and will pay for his treasonous lack of action. Better keep
your family close J ames.”
16. It is therefore requested that a complaint and arrest warrant issue for the
offense listed above.

FURTHER YOUR AFFIANT SAYETH NOT.

 
 
 

 

Dustin Merritt, Special Agent
Federal Bureau of Investigation

SUBSRIBED AND SWORN to before me this ot, of February, 2021.

AMANDA MAXFIELIYGREEN
UNITED STATES MAGISTRATE JUDGE

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